                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 1:12-00010
                                                      )       Judge Trauger
BENJAMIN RILEY BRADLEY, et al.                        )
                                                      )

                                            ORDER

        Defendant Linda Chapman has filed a Motion to Continue Trial (Docket No. 49), which

has been joined in by defendant Melinda Buie (Docket No. 50). Defendant Chapman has filed a

waiver of speedy trial (Docket No. 52), and the remaining defendants have informed Judge

Trauger’s courtroom deputy that they, likewise, support the continuance and will be filing timely

waivers of speedy trial. For these reasons, the Motion to Continue Trial filed by defendant

Chapman (Docket No. 49) is GRANTED, conditioned upon the timely filing of waivers of

speedy trial by the remaining four defendants. By separate order, this trial is being reset for

April 23, 2013.

        It is so ORDERED.

        ENTER this 20th day of February 2013.




                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




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